                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA

 ALASKA INDUSTRIAL                           )
 DEVELOPMENT AND EXPORT                      )
 AUTHORITY,                                  )
                                             )
                                             )
                 Plaintiff,                  )
                                             )
          vs.                                )
 U.S. DEPARTMENT OF THE                      )
 INTERIOR, DEB HAALAND, in her               )       Case No.: 3:24-cv-00051-SLG
 capacity as Secretary of the Department     )
 of the Interior, BUREAU OF LAND             )
 MANAGEMENT, and TRACY                       )
 STONE-MANNING, in her official              )
 capacity as Director of the Bureau of       )
 Land Management;                            )
                                             )
                 Defendants.                 )
                                             )

[PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION TO SUPPLEMENT
                THE ADMINISTRATIVE RECORD

          This Court, having reviewed Plaintiff’s Motion to Supplement the Administrative

Record, and all other responsive pleadings, hereby grants Plaintiff’s motion.

          IT IS SO ORDERED.

          Dated in Anchorage, Alaska this         day of AUGUST, 2024.


                                                 Hon. Sharon L. Gleason
                                                 United States District Court Judge




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